                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

 DONALD J. TRUMP,

        Plaintiff,

 v.                                                   Case No. 20-CV-1785-BHL

 WISCONSIN ELECTIONS COMMISSION,
 et al.,

       Defendants.
_____________________________________________________________________________

                 DECLARATION OF ANDREW A. JONES IN SUPPORT OF
                         MOTION FOR ATTORNEY FEES


       Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

       1.        I am a partner with the law firm Hansen Reynolds LLC. I am one of the attorneys

for the Milwaukee County defendants, George L. Christenson and Julietta Henry (together,

“Milwaukee County”). I make this declaration in support of Milwaukee County’s motion for

attorney fees.

       2.        I have personal knowledge of the facts set forth in this declaration or know them to

be true based on the business records of Hansen Reynolds, and I would testify to them if called as

a witness.

       3.        Plaintiff, Donald J. Trump, filed this action on December 3, 2020 challenging the

results of the 2020 presidential election in Wisconsin. Given the high stakes and public importance

of this matter, Milwaukee County defended the action vigorously.

       4.        Due to the expedited case schedule in this Court and the Seventh Circuit, as well as

the simultaneous litigation in Wisconsin Circuit Court and the Supreme Court of Wisconsin, it was


                                                  1

         Case 2:20-cv-01785-BHL Filed 04/08/21 Page 1 of 5 Document 157
necessary to staff this litigation with a team of lawyers from Hansen Reynolds. Because the case

involved numerous complex issues of federal constitutional law and various standing, abstention,

and equitable doctrines, it required extensive research, analysis, and writing. The lawyers at

Hansen Reynolds divided the various legal issues among themselves and had to work in tandem,

often around the clock, to meet the court-imposed deadlines set in light of the claims advanced and

the relief sought by former President Trump. They also coordinated extensively with the attorneys

for the other defendants; this included sharing drafts of briefs and other filings, formulating case

strategy, and preparing a single consolidated brief in the Seventh Circuit.

        5.      Hansen Reynolds is a law firm focused exclusively on complex commercial,

intellectual property, and other civil litigation. The lawyers at Hansen Reynolds who worked on

this matter were me, John W. McCauley, James F. Cirincione, and Andrew J. Kramer. I acted as

lead counsel, overseeing the case and the work of the other lawyers at my firm.

        6.      I have been a lawyer for over twenty-six years, first as an assistant city attorney for

the City of New York, then as a partner and board member at two national law firms and a judge

on the Milwaukee County Circuit Court, and now as a partner at Hansen Reynolds. Other than

when I was on the bench, I have regularly represented governmental entities and officials in a

broad range of constitutional, civil rights, land use, and other litigation matters throughout my

career. I have litigated cases at trial and on appeal at all levels of the state and federal court systems,

including the Wisconsin Court of Appeals and Supreme Court, the U.S. Court of Appeals for the

Seventh Circuit, and the U.S. Supreme Court. I received my undergraduate degree from Duke

University and my law degree from the University of Wisconsin Law School.

        7.      John W. McCauley is a partner at Hansen Reynolds focusing on complex

commercial, patent, and appellate matters. He has represented large corporations and small



                                                    2

         Case 2:20-cv-01785-BHL Filed 04/08/21 Page 2 of 5 Document 157
businesses as plaintiffs and defendants in state and federal courts across the country. He also

regularly represents governmental entities facing constitutional and statutory claims. He received

his undergraduate degree from Harvard University and his law degree from the University of

Pennsylvania. Before joining Hansen Reynolds in 2015, he served as a law clerk to Judge Michael

S. Kanne of the United States Court of Appeals for the Seventh Circuit and was a litigator at a

large national law firm and a major global firm. He has been practicing law for over thirteen years.

       8.      James F. Cirincione is a partner at Hansen Reynolds. He concentrates his practice

on general business litigation and counseling in federal and state courts. He has experience

representing clients in complex commercial litigation matters, including contract disputes, product

liability litigation, class action defense, mass torts, and construction litigation. Prior to joining

Hansen Reynolds, he was a litigator at two AmLaw 100 firms and the legal department of a Fortune

500 company. In addition, he served as a law clerk on the U.S. Court of Appeals for the Eleventh

Circuit and the Eastern District of Wisconsin. He received his undergraduate degree from Colgate

University and his law degree from Vanderbilt University. He has been practicing law for more

than seventeen years.

       9.      Andrew J. Kramer was a partner at Hansen Reynolds from 2013 through early 2021,

where he focused on complex business disputes, appellate advocacy, government investigations,

and regulatory enforcement. Before joining the firm, he was an Assistant State’s Attorney in the

Chicago suburbs, where he tried sixty jury trials and hundreds of bench trials to verdict. He started

his legal career as Assistant Counsel to the Speaker of the Illinois House of Representatives, where

was counsel to the House Judiciary Committee. He received his undergraduate degree from

Michigan State University, a master’s degree from the University of Wisconsin Lafollette School

of Public Affairs, and his law degree from the University of Wisconsin Law School. He has been



                                                 3

         Case 2:20-cv-01785-BHL Filed 04/08/21 Page 3 of 5 Document 157
in legal practice for more than fourteen years. In early 2021, he left Hansen Reynolds to assume a

position with the Wisconsin Department of Justice.

       10.     I and other lawyers at Hansen Reynolds routinely maintain records of time worked

on a matter by entering the amount of time expended, in increments of one tenth of an hour, and a

description of the tasks performed into the firm’s electronic time-tracking program. The firm

administrator then generates an invoice, typically at the end of each month, showing all work

performed and the number of hours expended on the matter.

       11.     In support of this declaration and Milwaukee County’s motion for attorney fees, I

reviewed all time entries and descriptions for this matter. I have attached a spreadsheet

summarizing those entries as Exhibit A to this declaration.

       12.     As shown on Exhibit A, the Hansen Reynolds team spent a total of 327.6 hours

working on this matter through April 3, 2021. Based on my years in practice, my knowledge of

this case and the work performed, and my knowledge of the legal market in Wisconsin, it is my

opinion that the services performed by Hansen Reynolds and the number of hours expended were

necessary and reasonable.

       13.     Hansen Reynolds was retained to represent Milwaukee County in this litigation by

the county’s mutual insurer, Wisconsin County Mutual Insurance Corporation. For its work on this

matter, Hansen Reynolds charged a rate of $200 per hour for all attorneys. This is deeply

discounted from the firm’s and the individual attorneys’ standard hourly rates for complex

commercial and other civil litigation. In my opinion, based on my experience and expertise, $200

per hour is a more-than-reasonable rate for Hansen Reynolds’ work on this matter.




                                                4

         Case 2:20-cv-01785-BHL Filed 04/08/21 Page 4 of 5 Document 157
       14.     Multiplying Hansen Reynolds’s 327.6 hours spent on this matter by the rate of $200

per hour, yields total fees of $65,520.00 through April 3, 2021. Again, based on my experience, it

is my opinion that this amount is reasonable.

       15.     I expect that Milwaukee County may incur additional charges in connection with

briefing and other work related to its motion for attorney fees. In that event, Milwaukee County

may submit a supplemental filing quantifying any additional fees and requesting that they be taxed

to plaintiff and his counsel.

       16.     I declare under penalty of perjury that the foregoing is true and correct.



       Executed at Milwaukee, Wisconsin on this 8th day of April, 2021.

                                                /s/ Andrew A. Jones
                                                Andrew A. Jones




                                                  5

         Case 2:20-cv-01785-BHL Filed 04/08/21 Page 5 of 5 Document 157
